                                                                                              FILED
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                                                                                             11:09 AM
                                                                                      US Bankruptcy Court
                                                                                    Western District Of Oklahoma
                     IN THE UNITED STATES BANKRUPTCY COURT

                     FOR THE WESTERN DISTRICT OF OKLAHOMA


In re                                              § Case No. 03-23388 NLJ
                                                   §
AMERIVISION COMMUNICATIONS, INC.                   § (CHAPTER 11)
d/b/a LIFELINE COMMUNICATIONS,                     §
                                                   §
                  Reorganized Debtor.              §
AMERIVISION COMMUNICATIONS, INC.                   § Adversary No. 05-01371
d/b/a LIFELINE COMMUNICATIONS,                     §
                                                   §
                       Plaintiff,                  §
                                                   §
v.                                                 §
                                                   §
XYANT TECHNOLOGY, INC.                             §
                                                   §
                       Defendant.                  §

                MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                   AGREEMENT WITH XYANT TECHNOLOGY, INC.

TO THE HONORABLE NILES JACKSON, U.S. BANKRUPTCY JUDGE:

        AmeriVision Communications, Inc. d/b/a/ Affinity 4 (“Reorganized Debtor”) and Xyant

Technology, Inc. (“Xyant”), file this Motion to Approve Compromise and Settlement Agreement

with Xyant Technology, Inc. (the “Motion”) and in support thereof represents as follows:

                             I. STATEMENT OF JURISDICTION

     1. This court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 157(a)

and 1334(a) because it relates to the chapter 11 case of the Debtor administered in this Court under

Case No. 03-23388 NLJ. This adversary proceeding is a core matter pursuant to 28 U.S.C. §

157(b)(2)(f).

                                    II. STATEMENT OF FACTS


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    2. Prior to December 7, 2003 (the “Petition Date") the Debtor operated a long distance resale

business.

    3. Prepetition the Defendant provided goods and/or services to the Reorganized Debtor.

    4. During the ninety (90) days immediately preceding the Petition Date (the "Preference

Period"), the Reorganized Debtor transferred not less than $34,460.00 to Defendant (the

"Transfers").

    5. The Transfers were made to the Defendant on account of an antecedent debt.

    6. On December 7, 2005, Reorganized Debtor filed the above-referenced adversary proceeding

in an attempt to recover the Transfers.

    7. After substantial negotiations, the Reorganized Debtor and Xyant have agreed that in lieu of

a costly litigation to recover the Transfers paid to Xyant, a settlement is appropriate. The terms of

the settlement are attached hereto in the Settlement Agreement marked as Exhibit “A.” In essence,

Xyant agrees to pay Reorganized Debtor $10,000.00 in consideration for the settlement of the

preference claim. All other claims and causes of action will be released.

     III. APPROVAL OF THE COMPROMISE AND SETTLEMENT AGREEMENT
                 IS IN THE BEST INTERESTS OF THE ESTATE

    8. The Bankruptcy Court derives its authority to approve compromise and settlement

agreements from Bankruptcy Rule 9019(a).1               The decision of whether to approve a particular

compromise lies within the discretion of the trial judge.2           However, the Bankruptcy Judge must

exercise his discretion in an informed and reasoned manner:


        1
                See Matter of Aweco, Inc., 725 F.2d 293, 297 (5th Cir. 1984), cert. den. 469 U.S. 880, 105 S. Ct.
244 (1984).

        2
                Aweco, 725 F.2d at 297 (citing Matter of Jackson Brewing Co., 624 F.2d 599, 602-03 (5th Cir.


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            When invoked as a guide to judicial action [discretion] means a sound discretion,
            that is to say, a discretion exercised not arbitrarily or willfully, but with regard to
            what is right and equitable under the circumstances and the law, and directed by the
            reason and conscience of the judge to a just result.3

The central question is whether the compromise or settlement is fair, reasonable and adequate based

on the facts and circumstances before the Court.4

    9. The benchmark for determining the propriety of a bankruptcy settlement is always whether

the settlement is in the best interests of the estate.5        In deciding whether a settlement agreement

serves the estate’s best interests, courts have fashioned guiding principles for this consideration

including:

            (1)    the probability of success in the litigation, with due consideration for
                   uncertainty in fact and law;

            (2)    the complexity and likely duration of the litigation and any attendant
                   expense, inconvenience and delay;

            (3)    the difficulties that may be encountered in collecting any judgment that might result;

            (4)    whether the settlement was the product of arm’s length negotiations;

            (5)    whether the settlement is collusive;

            (6)    whether the proponents have experienced counsel and the litigation has been a “fair
                   fight;”


1980)) See also, In re Albert Harris, 313 F.2d 447, 449 (6th Cir. 1963); In re Hibbard Brown & Co. Inc., 217 B.R.
41 (Bankr. S.D.N.Y. 1998); Bell & Beckwith, 77 B.R. 606, 611, (Bankr. N.D. Ohio 1987) order affm’d 97 B.R. 472
(N.D. Ohio 1987).

            3
                   Aweco, 725 F.2d at 298.

            4
                Hibbard Brown, 217 B.R. at 45, (citing In re Drexel Burnham Lambert Group, 960 F.2d 285, 292-
       nd
293, (2 Cir. 1992), cert. disms’d 506 U.S. 1088, 1123 S. Ct. 1070 (1993)).

            5
                 Matter of Energy Co-op, Inc., 886 F.2d 921, 926 (7th Cir. 1989), (citing In re American Reserve
Corp. 841 F.2d 159, 161 (7th Cir. 1987); In re A & C Properties, 784 F.2d 1377, 1380, 1381 (9th Cir. 1986)); In re
Barton, 45 B.R. 225 (Bankr. M.D.Tenn. 1984); Bell & Beckwith, 77 B.R. at 611.



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        (7)      whether there has been sufficient discovery of the underlying facts and claims to
                 enable counsel and the parties to act intelligently;

        (8)      the number of objecting parties and their relative interests;

        (9)      the paramount interest of creditors with a proper preference for their reasonable
                 views; and

        (10)     all other factors bearing on the wisdom of the compromise.6

        The Bankruptcy Court’s duty is to determine whether the value to the estate of the proposed

settlement is reasonably equivalent to the value of the potential claim that the estate gives up in the

settlement.7 The Court need not conduct a mini-trial to determine the probable outcome of

litigation, but need only apprize itself of the relevant facts and law so that it can make an informed

and intelligent decision.8 The Agreement negotiated between the Reorganized Debtor and Xyant

meets these requirements and is in the best interest of the estate.

        A.       Whether the Settlement Was the Product of Arm’s Length Negotiations, Whether the

Settlement is Collusive, and Whether the Proponents have Experienced Counsel and the Litigation

has been a “Fair Fight.” The Reorganized Debtor and Xyant are both represented by experienced

counsel. The proposed Agreement is the product of extensive efforts and arm’s length negotiations

by the parties. Given the history of this case, no serious suggestion that one party was unfairly

disadvantaged or that the proposed settlement is collusive can be made.

        B.       Whether There Has Been Sufficient Discovery of the Underlying Facts and Claims to

Enable Counsel and the Parties to Act Intelligently. There have been negotiations and exchange of


        6
                  See, e.g., Jackson Brewing Co. 624 F.2d at 602-03; Energy Co-op, 886 F.2d at 827; In re Texaco,
Inc., 84 B.R. 14 (Bankr. S.D.N.Y. 1998).

        7
                 Energy Co-op, 886 F.2d at 929; New York, N.H. & H.R. Co., 632 F.2d 955, 960 (2nd Cir. 1980).

        8
                 Official Committee of Unsecured Creditors v. Cajun Electric Power Cooperative, Inc. (In re Cajun
Electric Power Cooperative, Inc.) 119 F.3d 349, 356 (5th Cir. 1997), (citing LaSalle National Bank v. Holland (In
re American Reserve Corp.) 841 F.2d 159,163 (7th Cir. 1987), Depositer, 36 F.3d at 586 (7th Cir. 1994).
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information between the parties preceding the Agreement. Neither of the parties to the Agreement

have acted without detailed knowledge of the assets, liabilities and overall financial circumstances

and realities of this case and have each acted intelligently with regard to the best interests of the

bankruptcy estate.

       C.      All other factors bearing on the wisdom of compromise. The benefits stemming from

the Agreement are substantial. The Agreement was reached in the spirit of cooperation and

compromise between the Reorganized Debtor, and Xyant.

       WHEREFORE, PREMISES CONSIDERED, the Reorganized Debtor requests that this

Court approve the compromise and settlement proposed herein, authorize the Reorganized Debtor to

execute the Agreement in substantial form as that attached hereto as Exhibit “A.”

Dated: January 23, 2007                                PHILLIPS MCFALL MCCAFFREY
                                                       MCVAY & MURRAH, P.C.


                                           By:    s/ Vickie J. Buchanan
                                                  Shannon Emmons, OBA# 14272
                                                  Vickie J. Buchanan, OBA #18345
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                                           Oklahoma City, Oklahoma 73102
                                           Telephone: 405.235.4100
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                                                                    - AND -

                                                       POWELL GOLDSTEIN LLP


                                           By:              /s/ Keith Aurzada
                                                     Keith Miles Aurzada, TBA 24009880

                                           2200 Ross Avenue, Suite 3200
                                           Dallas, Texas 75201
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                                          COUNSEL TO THE REORGANIZED DEBTOR



                                CERTIFICATE OF SERVICE

       This is to certify that I have this date served a copy of the above-referenced pleading upon

the following persons by causing copies of the same to be mailed by United States first class mail,

postage prepaid.

               Jackie L. Hill, Jr.
               2800 Oklahoma Tower
               210 Park Avenue
               Oklahoma City, OK 73012

Dated: January 25, 2007

                                             s/ Vickie J. Buchanan




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